In this cause Mr. Chief Justice TERRELL, Mr. Justice BROWN and Mr. Justice BUFORD are of the opinion that the judgment of the court below should be reversed, while Mr. Justice WHITFIELD, Mr. Justice ELLIS and Mr. Justice STRUM are of opinion that said judgment *Page 1388 
should be affirmed. When it appears that the members of the Court are permanently and equally divided in opinion as to whether a judgment should be affirmed or reversed, and there is no prospect of an immediate change in the personnel of the Court, the judgment should be affirmed; therefore, it is considered, ordered and adjudged under the authority of State ex rel. Hampton v. McClung, 47 Fla. 224, 37 So. R. 51, that the judgment of the circuit court in this cause be and the same is hereby affirmed.
TERRELL, C. J., and WHITFIELD, ELLIS, STRUM, BROWN and BUFORD, J. J., concur.